                                                   UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF WASHINGTON

In re:                                                                      Case No. 11-20512
           Julian Flores
                                                                            CHAPTER 13 PLAN

                                                                             X Original            AMENDED

                                             Debtor(s).                     Date:   September 14, 2011



I.   Introduction:
     A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
       X Yes
          No
     B. Means Test Result. Debtor is (check one):
       X a below median income debtor
           an above median income debtor with positive monthly disposable income
           an above median income debtor with negative monthly disposable income

1I. Plan Payments:
    No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor will commence making
    payments to the Trustee as follows:
    A. AMOUNT: $650.00 Monthly for 60 months
    B. FREQUENCY (check one):
      X Monthly
         Twice per month
         Every two weeks
         Weekly
    C. TAX REFUNDS: Debtor (check one):             COMMITS; X DOES NOT COMMIT; all tax refunds to funding the plan.
       Committed refunds shall be paid in addition to the plan payment stated above. If no selection is made, tax refunds are
       committed.
    D. PAYMENTS: Plan payments shall be deducted from the debtor's wages unless otherwise agreed to by the Trustee or ordered
       by the Court.
    E. OTHER:

III. Plan Duration:
     The intended length of the plan is 60 months, and may be extended up to 60 months after the first payment is due if necessary
     for completion. The plan's length shall not be less than the debtor's applicable commitment period as defined under 11 U.S.C. §§
     1322(d) and 1325(b)(4).

IV. Distribution of Plan Payments:
    Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply them accordingly,
    PROVIDED THAT disbursements for domestic support obligations and federal taxes shall be applied according to applicable
    non-bankruptcy law:
    A. ADMINISTRATIVE EXPENSES:
       1. Trustee. The percentage set pursuant to 28 USC §586(e).
       2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
       3. Attorney's Fees: Pre-confirmation attorney fees and costs shall not exceed $ 3,500.00 . $ 3,226.00 was paid prior to
       filing. To the extent pre-confirmation fees and costs exceed $3,500, an appropriate application, including a complete
       breakdown of time and costs, shall be filed with the Court within 21 days of confirmation.
       Approved pre-confirmation fees shall be paid as follows (check one):
           a. X Prior to all creditors;
           b.    Monthly payments of $ ;
           c.    All remaining funds available after designated monthly payments to the following creditors: .
           d.    Other:
           If no selection is made, fees will be paid after monthly payments specified in Paragraphs IV. B and IV. C.
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     B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed and allowed pursuant to 11
     USC § 502(a) or court order as follows (if left blank, no payments shall be made by the Trustee):
                      Creditor                                 Monthly amount
                      -NONE-                                   $

     C. SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed pursuant to 11 USC § 502(a)
        or court order, as stated below. Unless ranked otherwise, payments to creditors will be disbursed at the same level. Secured
        creditors shall retain their liens until the payment of the underlying debt, determined under nonbankruptcy law, or discharge
        under 11 USC § 1328, as appropriate. Secured creditors, other than creditors holing long term obligations secured only by a
        security interest in real property that is the debtor's principal residence, will be paid the principal amount of their claim or the
        value of their collateral, whichever is less, plus per annum uncompounded interest on that amount from the petition filing
        date.

           Interest rate and monthly payment in the plan control unless a creditor timely files an objection to confirmation. If a creditor
           timely files a proof of claim for an interest rate lower than that proposed in the plan, the claim shall be paid at the lower rate.
           Value of collateral stated in the proof of claim controls unless otherwise ordered following timely objection to claim. The
           unsecured portion of any claim shall be paid as a nonpriority unsecured claim unless entitled to priority by law.

           Only creditors holding allowed secured claims specified below will receive payment from the Trustee. If the interest rate
           is left blank, the applicable interest rate shall be 12%. If overall plan payments are sufficient, the Trustee may increase or
           decrease post-petition installments for ongoing mortgage payments, homeowner's dues and/or real property tax holding
           accounts based on changes in interest rates, escrow amounts, dues and/or property taxes.

           1. Continuing Payments on Claims Secured Only by Security Interest in Debtor's Principal Residence (Interest included in
           payments at contract rate, if applicable): SEE SECTIONS VII and XII FOR SPECIFIC TERMS

Rank           Creditor                                     Nature of Debt               Property                        Monthly Payment

                                                                                         Real property commonly
                                                                                         known as 30845 10th Ave
                                                                                         SW, Federal Way WA 98023
                                                                                         Debtors are working on a
                                                                                         modification
1              Wachovia**                                                                Value based on Zillow           $ 0**

           2. Continuing Payments on Claims Secured by Other Real Property (Per annum interest as set forth below): SEE SECTIONS
           VII and XII FOR SPECIFIC TERMS

                                                                                                                                        Interest
Rank           Creditor                           Nature of Debt              Property                        Monthly Payment              Rate
                                                                                         Real property commonly
                                                                                         known as 30414 1st Pl S,
                                                                                         Federal Way WA 98003
1              Chase**                                                                   Value based on Zillow.com       $ 0**


           3. Cure Payments on Mortgage/Deed of Trust/Property Tax Arrearage (If there is a property tax arrearage, also provide for
           postpetition property tax holding account at Section XII):

                       Periodic                                                                                 Arrears to be      Interest
Rank                   Payment         Creditor                              Property                                 Cured        Rate
                                                                             Real property commonly
                                                                             known as 30414 1st Pl S,
                                                                             Federal Way WA 98003
2              $           83.33       Chase                                 Value based on Zillow.com    $          4,000.00                  0 %
                                                                             Real property commonly
                                                                             known as 30845 10th Ave
                                                                             SW, Federal Way WA 98023
                                                                             Debtors are working on a
                                                                             modification
2              $          104.17       Wachovia                              Value based on Zillow        $          5,000.00                  0 %
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           4. Payments on Claims Secured by Personal Property:

           a.      910 Collateral.
The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money security interest in any motor
vehicle acquired for the personal use of the debtor(s) within 910 days preceding the filing date of the petition or in other personal
property acquired within one year preceding the filing date of the petition as follows. Debtor stipulates that pre-confirmation adequate
protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is specified, the
Trustee shall pay the amount stated as the "Equal Periodic Payment".

                         Equal                                                   Description                     Pre-Confirmation
                       Periodic                                                  of                            Adequate Protection      Interest
Rank                   Payment         Creditor                                  Collateral                              Payment        Rate
               $                       -NONE-                                                                    $                                      %

            b.    Non-910 Collateral.
The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following timely objection to the
claim, for a purchase-money security interest in personal property which is non-910 collateral. Debtor stipulates that pre-confirmation
adequate protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is
specified, the Trustee shall pay the amount stated as the "Equal Periodic Payment".

                         Equal                                             Debtor(s)    Description              Pre-Confirmation
                       Periodic                                             Value of    of                     Adequate Protection      Interest
Rank                   Payment         Creditor                            Collateral   Collateral                       Payment        Rate
                                                                                        2002 Ford F150
                                                                                        with 88,000 miles
                                                                                        Value based on
1              $          450.00       Chase Manhattan                 $    4,400.00    Kelley Blue Book         $           450.00                 5 %
                                                                                        2008 Chevy
                                                                                        Cargo Van with
                                                                                        33,000 miles,
                                                                                        used in
                                                                                        business.
                                                                                        Value based on
2              $          363.60       Ally Financial                  $ 16,450.00      Kelley Blue Book         $              100                 5 %

     D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the order stated in
     11 USC § 507(a).

     E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments, the Trustee shall pay filed
     and allowed nonpriority unsecured claims as follows:

           1. Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims prior to other nonpriority
              unsecured claims as follows:

Rank         Creditor                                  Amount of Claim            Percentage to be Paid       Reason for Special Classification
             -NONE-                                    $                                                  %

           2. Other Nonpriority Unsecured Claims (check one):
               a.       100% paid to allowed nonpriority unsecured claims. OR
               b.    X Debtor shall pay at least $ 0 to allowed nonpriority unsecured claims over the term of the plan. Debtor
                   estimates that such creditors will receive approximately 0 % of their allowed claims.

V. Secured Property Surrendered:
   The secured property described below will be surrendered to the following named creditors on confirmation. Upon confirmation,
   all creditors to which the debtor is surrendering property pursuant to this section are granted relief from the automatic stay to
   enforce their security interest against the property including taking possession and sale.




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Creditor                                                                            Property to be Surrendered
Saxon Mortgage Service                                                              Real Property commonly known as 1410 S 282nd Pl,
                                                                                    Federal Way WA 98003
                                                                                    Debtors are attempting to get a short-sale approved
Saxon Mtg                                                                           Real Property commonly known as 1410 S 282nd Pl,
                                                                                    Federal Way WA 98003
                                                                                    Debtors are attempting to get a short-sale approved

VI. Executory Contracts and Leases:
    The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below. Assumption will be by
    separate motion and order, and any cure and/or continuing payments will be paid directly by the debtor under Section VII, unless
    otherwise specified in Section XII with language designating that payments will be made by the Trustee, the amount and frequency
    of the payments, the ranking level for such payments with regard to other creditors, the length of the term for continuing payments
    and the interest rate, if any, for cure payments. Any executory contract or unexpired lease not assumed pursuant to 11 USC §
    365(d) is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed and allowed
    unsecured claim for damages shall be paid under Section IV.E.2.

Contract/Lease                                                                      Assumed or Rejected
-NONE-

VII.Payments to be made by Debtor and not by the Trustee:
    The following claims shall be paid directly by the debtor according to the terms of the contract or support or withholding order,
    and shall receive no payments from the Trustee. (Payment stated shall not bind any party)

     A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic support obligations shall be
     paid directly by the debtor as follows:

Creditor                                                           Current Monthly Support Obligation            Monthly Arrearage Payment
DSHS                                                               $                            200              $                       0

     B. OTHER DIRECT PAYMENTS:



Creditor                                            Nature of Debt                               Amount of Claim          Monthly Payment
Wachovia                                            1st mortgage                                 $ 265000                 $ 1366.33
               Chase**                                   1st mortgage                     178000                         $ 1295



VIII. Revestment of Property:
    Unless otherwise provided in Section XII, during the pendency of the plan all property of the estate as defined by 11 USC §
    1306(a) shall remain vested in the debtor, except that earnings and income necessary to complete the terms of the plan shall
    remain vested in the Trustee until discharge. The debtor shall not, without approval of the Court, sell or otherwise dispose of or
    transfer real property other than in accordance with the terms of the confirmed Plan.

IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
    The liquidation value of the estate is $ 0.00 . In order to obtain a discharge, the debtor must pay the liquidation value or the total
    of allowed priority and nonpriority unsecured claims, whichever is less. Under 11 USC §§ 1325(a)(4) and 726(a)(5), interest on
    allowed unsecured claims under Section IV.D and IV.E shall be paid at the rate of        % per annum from the petition filing date
    (no interest shall be paid if left blank).

X. Other Plan Provisions:
    A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and priority unsecured creditors are
    paid in full, provided that no claim shall be paid before it is due.
    B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured creditor are current, subject
    to the creditor’s rights under state law if the case is dismissed.
    C. If a secured creditor elects to charge debtor any fee, expense or cost permitted under the contract, the creditor shall give written
    notice to the debtor and debtor’s counsel within 30 days of the assessment.
    D. Mortgage creditors shall notify the Trustee, debtor and debtor’s counsel within 60 days of any change in the regular monthly
    payment (including the escrow account, if applicable).
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     E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other information provided in this
     section shall not be a violation of the 11 USC § 362 automatic stay or of privacy laws.

XI. Certification:
    A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the date of this plan and will
        be paid in full at the time of the confirmation hearing. Debtor acknowledges that timely payment of such post-petition
        Domestic Support Obligations is a condition of plan confirmation pursuant to 11 USC § 1325(a)(8).
    B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not alter the provisions of Local
        Bankruptcy Form 13-4, except as provided in Section XII below. Any revisions to the form plan not set forth in Section XII
        shall not be effective.

XII.Additional Case-Specific Provisions: (must be separately numbered)
     1. Debtor are attempting a short-sale on the property located at 1410 S 282nd Pl, Federal Way WA 98003.
     2. Debtor's family members live in the property located at 30414 1st Pl S, Federal Way WA 98003. Debtor will make direct
     payments on the ongoing mortgage amount but will pay towards the arrears in the plan. The direct payments are to help
     facilitate a modification, which Debtor is now attempting.
     3. Debtor is also attempting a modification on the 30845 10th Ave SW, Federal Way WA 98023 property, and will make
     direct payments for the ongoing mortgage in order to facilitate this process. He will pay towards the arrears in the plan.
     4. If modifications have not been finalized by April 1, 2012, Debtor will amend or modify the plan to surrender the
     properties for which there has been no modification. If modifications are approved, Debtor will amend or modify the plan
     to remove the arrears.
     5. Debtor will file an adversary proceeding to strip of the second, wholly unsecured lien on their property located at
     30414 1st Pl S, Federal Way WA 98003.



/s/ Clayton Cook-Mowery                           /s/ Julian Flores                       xxx-xx-6647               September 14, 2011
Clayton Cook-Mowery 41110                         Julian Flores                           Last 4 digits SS#                             Date
Attorney for Debtor(s)                            DEBTOR

September 14, 2011
Date                                              DEBTOR                                  Last 4 digits SS#                             Date




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